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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                          February 09, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                  MCALLEN DIVISION

IN RE:                                            §
                                                  §       CASE NO: 10-70594
JOSE SR. TREVINO                                  §
and                                               §       CHAPTER 13
TERESA TREVINO,                                   §
                                                  §
         Debtors.                                 §
                                                  §
TERESA TREVINO                                    §
and                                               §
JOSE SR. TREVINO,                                 §
                                                  §
         Plaintiffs,                              §
                                                  §
VS.                                               §       ADVERSARY NO. 13-7031
                                                  §
U.S. BANK TRUST, N.A.                             §
and                                               §
CALIBER HOME LOANS, INC.,                         §
                                                  §
         Defendants.                              §

                                         JUDGEMENT
                              Resolving ECF Nos. 374, 390, 466, and 470

       Pending before the Court are several matters self-styled as (1) “Application Of Plaintiffs’
Counsel For Allowance Of Compensation And Reimbursement Of Expenses”1 filed on May 15,
2020, by Jose and Teresa Trevino; (2) “Defendants’ Objection To Application Of Plaintiffs’
Counsel For Allowance Of Compensation And Reimbursement Of Expenses”2 filed on August 14,
2020, by U.S. Bank Trust, N.A., as trustee for LSF8 Master Participation Trust, and Caliber Home
Loans, Inc.; (3) “Supplemental Application Of Plaintiffs’ Counsel For Allowance Of
Compensation And Reimbursement Of Expenses”3 filed on January 10, 2022, by Jose and Teresa
Trevino; and (4) “The Caliber Parties’ Objection To The Supplemental Application Of Plaintiffs’
Counsel For Allowance Of Compensation And Reimbursement Of Expenses”4 filed on February
7, 2022, by U.S. Bank Trust, N.A., as trustee for LSF8 Master Participation Trust, and Caliber
Home Loans, Inc.




1
  ECF No. 374.
2
  ECF No. 390
3
  ECF No. 466.
4
  ECF No. 470.
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        On September 19, 2022, the Court conducted a four day trial which ended on September
22, 2022. For the reasons set forth in this Court’s accompanying Memorandum Opinion it is
therefore:

ORDERED: that

    1. “Defendants’ Objection To Application Of Plaintiffs’ Counsel For Allowance Of
       Compensation And Reimbursement Of Expenses”5 filed on August 14, 2020, by U.S. Bank
       Trust, N.A., as trustee for LSF8 Master Participation Trust, and Caliber Home Loans, Inc.
       is SUSTAINED in part and OVERRULED in part as follows:

             a. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he
                Trevinos Should Be Denied Their Attorneys’ Fees and Expenses Because the Fee
                Applicants Failed to Obtain Court Approval to Represent the Trevinos and Failed
                to Timely Disclose Their Fee Arrangements with the Trevinos”6 is SUSTAINED
                in part. Given Kellett & Bartholow, PLLC and Stone Curtis, PLLC’s failure to
                timely file the required disclosures under Rule 2016(b) and comply with Local Rule
                2014-1(d), this Court finds it appropriate to reduce any award for fees to Kellett &
                Bartholow, PLLC and Stone Curtis, PLLC by 50%.

             b. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he KB
                Firm Has Failed to Justify Its High Hourly Rates as Being Within the Prevailing
                Hourly Rates for Similar Work in the McAllen Community”7 is OVERRULED.

             c. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he Results
                Obtained Do Not Support the Trevinos’ Request for Fees”8 is SUSTAINED and
                Kellett & Bartholow, PLLC and Stone Curtis, PLLC’s overall fees will be reduced
                by an additional 20% to account for the results obtained.

             d. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he
                Trevinos’ Claims Were Neither Complex Nor Novel”9 is OVERRULED.

             e. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he Time
                Spent by the Trevinos’ Counsel in Litigating the Claims Was Wholly
                Unreasonable”10 is SUSTAINED in part and the Court disallows $141,239.50 in
                unnecessary and unreasonable attorneys’ fees sought by Kellett & Bartholow,
                PLLC.



5
  ECF No. 390.
6
  Id. at 7-11.
7
  Id. at 18-19.
8
  Id. at 11-15.
9
  Id. at 15-18.
10
   Id.
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             f. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he Fee
                Application is replete with instances of top-heavy billing, overstaffing, and
                overbilling for the tasks involved”11 is SUSTAINED and the Court disallows
                $10,630 in unnecessary and unreasonable attorneys’ fees sought by Kellett &
                Bartholow, PLLC.

             g. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that,
                “[d]efendants’ offer of judgment early in the adversary proceeding warrants a
                substantial reduction to Plaintiffs’ requested fees”12 is OVERRULED.

             h. Each reduction outlined above has already been subsumed into the attorneys’ fees
                and expenses awarded to Kellett & Bartholow, PLLC and Stone Curtis, PLLC from
                Jose and Teresa Trevino’s “Application Of Plaintiffs’ Counsel For Allowance Of
                Compensation And Reimbursement Of Expenses”13
     2. “Application Of Plaintiffs’ Counsel For Allowance Of Compensation And Reimbursement
        Of Expenses”14 filed on May 15, 2020, by Jose and Teresa Trevino is GRANTED in part
        and DENIED in part as follows:

             a. $195,947.00 in reasonable and necessary attorneys’ fees are awarded to Jose and
                Teresa Trevino’s counsel, Kellett & Bartholow, PLLC.

             b. $6,967.91 in reasonable and necessary attorneys’ fees are awarded to Jose and
                Teresa Trevino’s counsel, Stone Curtis, PLLC.

             c. $44,054.64 in reasonable and necessary expenses are awarded to Jose and Teresa
                Trevino’s counsel, Kellet & Bartholow, PLLC.

             d. $2,454.17 in reasonable and necessary expenses are awarded to Jose and Teresa
                Trevino’s counsel, Stone Curtis, PLLC.

             e. All other attorneys’ fees and expenses sought by Jose and Teresa Trevino in their
                “Application Of Plaintiffs’ Counsel For Allowance Of Compensation And
                Reimbursement Of Expenses” filed May 15, 2020, not expressly granted are
                DENIED.

     3. “The Caliber Parties’ Objection To The Supplemental Application Of Plaintiffs’ Counsel
        For Allowance Of Compensation And Reimbursement Of Expenses”15 filed on February
        7, 2022, by U.S. Bank Trust, N.A., as trustee for LSF8 Master Participation Trust, and
        Caliber Home Loans, Inc. is SUSTAINED in part and OVERRULED in part as follows:


11
   Id. at 18.
12
   Id. at 19-20.
13
   ECF No. 374.
14
   ECF No. 374.
15
   ECF No. 470.
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              a. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he
                 Applicants Should Not Be Awarded Their Fees and Expenses Related to the
                 Defense of Their Fee Application Pursuant to Section 105(a) of the Bankruptcy
                 Code”16 is OVERRULED.

              b. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “The
                 Applicants Should Not Be Awarded Their Fees and Expenses Related to the
                 Defense of Their Fee Application Pursuant to 1692k”17 is OVERRULED.

              c. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that, “[t]he
                 Applicants’ Requested Fees and Expenses in the Supplemental Application Are
                 Unreasonable, and They Were Not Necessary to Applicants’ Representation of the
                 Trevinos in this Adversary Proceeding”18 is SUSTAINED in part and
                 OVERRULED in part as follows:

                     i. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that certain
                        block-billed entries be disallowed entirely19 is SUSTAINED in part and the
                        Court reduces these entries by 30% from $8,475 to $5,932.50.

                     ii. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that certain
                         billing entries for inter-office conferences should be disallowed entirely20 is
                         SUSTAINED and the Court disallows these entries totaling $4,563.00.


                    iii. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that certain
                         billing entries should be disallowed entirely as excessive21 is
                         OVERRULED.


                    iv. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that Kellett
                        & Bartholow, PLLC, excessively staffed and used high rate attorneys22 is
                        OVERRULED.

              d. U.S. Bank Trust, N.A. and Caliber Home Loans, Inc.’s objection that Kellett &
                 Bartholow, PLLC are not entitled to fees and expenses for appellate work in this
                 case23 is OVERRULED without prejudice as the issue is not ripe for consideration.

              e. Each reduction outlined above has already been subsumed into the attorneys’ fees
                 and expenses awarded to Kellett & Bartholow, PLLC from Jose and Teresa

16
   Id. at 4-13.
17
   Id. at 13-15.
18
   Id. at 15-20.
19
   Id. at 17.
20
   Id. at 17-18.
21
   Id. at 18.
22
   Id. at 18-19.
23
   Id. at 20.
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                 Trevino’s “Supplemental Application Of Plaintiffs’ Counsel For Allowance Of
                 Compensation And Reimbursement Of Expenses”24 filed on January 10, 2022.
     4. “Supplemental Application Of Plaintiffs’ Counsel For Allowance Of Compensation And
        Reimbursement Of Expenses”25 filed on January 10, 2022, by Jose and Teresa Trevino is
        GRANTED in part and DENIED in part as follows:

             a. $34,501.20 in reasonable and necessary attorneys’ fees are awarded to Jose and
                Teresa Trevino’s counsel, Kellett & Bartholow, PLLC.

             b. $392.40 in reasonable and necessary expenses are awarded to Jose and Teresa
                Trevino’s counsel, Kellett & Bartholow, PLLC.

             c. All other attorneys’ fees and expenses sought by Jose and Teresa Trevino in their
                “Supplemental Application Of Plaintiffs’ Counsel For Allowance Of
                Compensation And Reimbursement Of Expenses”26 filed on January 10, 2022, are
                DENIED.

     5. U.S. Bank Trust, N.A., as trustee for LSF8 Master Participation Trust, and Caliber Home
        Loans, Inc. are jointly and severally liable to Kellett & Bartholow, PLLC for $230,448.20
        in attorneys’ fees and $44,447.04 in expenses.

     6. U.S. Bank Trust, N.A., as trustee for LSF8 Master Participation Trust, and Caliber Home
        Loans, Inc. are jointly and severally liable to Stone Curtis, PLLC for $6,967.91 in
        attorneys’ fees and $2,454.17 in expenses.

     7. From February 9, 2023, up until all of the above referenced amounts are paid in full, post-
        judgment interest of 4.70% per annum27 shall accrue to each of:

             a. the $230,448.20 in attorneys’ fees and $44,447.04 in expenses owed to Kellett &
                Bartholow, PLLC.

             b. The $6,967.91 in attorneys’ fees and $2,454.17 in expenses owed to Stone Curtis,
                PLLC.

     8. All relief requested but not expressly granted herein is DENIED.

     9. This is a final judgment.




24
   ECF No. 466.
25
   ECF No. 466.
26
   ECF No. 466.
27
   Post-Judgment Interest Rates, United States District & Bankruptcy Court Southern District of Texas,
http://www.txs.uscourts.gov/page/post-judgment-interest-rates (last visited February 9, 2023); ECF No. 342.
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SIGNED February 9, 2023



                                    ________________________________
                                            Eduardo V. Rodriguez
                                     Chief United States Bankruptcy Judge
